          Case 2:06-cr-00106-RSM           Document 353        Filed 01/06/09      Page 1 of 3




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06                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
07                                      AT SEATTLE

08 UNITED STATES OF AMERICA,              )             CASE NO. CR06-106-RSM
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )             SUMMARY REPORT OF U.S.
                                          )             MAGISTRATE JUDGE AS TO
11   ROLANDO DEL MUNDO HERNANDEZ, )                     ALLEGED VIOLATIONS
                                          )             OF SUPERVISED RELEASE
12         Defendant.                     )
     ____________________________________ )
13

14          A hearing on supervised release revocation in this case was scheduled before me on

15 January 6, 2009. The United States was represented by AUSA Jill Otake and the defendant by

16 Allen R. Bentley. The proceedings were digitally recorded.

17          Defendant had been sentenced on or about January 5, 2007 by the Honorable Ricardo S.

18 Martinez on a charge of Conspiracy to Commit Bank Fraud, and sentenced to 8 months custody

19 (30 days in home detention), 5 years supervised release. (Dkt. 229.)

20          The conditions of supervised release included the standard conditions plus the requirements

21 that defendant participate in a drug program, abstain from alcohol, submit to search, pay

22 restitution in the amount of $73,592.13, provide access to financial information, maintain a single

     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -1
           Case 2:06-cr-00106-RSM          Document 353        Filed 01/06/09      Page 2 of 3




01 checking account for all transactions, disclose any business interests, disclose all assets and

02 liabilities, be prohibited from incurring new lines of credit or obligations, refrain from self-

03 employment or employment by friends or relatives unless pre-approved, obtain approval for all

04 employment, not work for cash, provide verification of pay, and not possess any false

05 identification documents.

06          In an application dated November 15 , 2008 (Dkt. 339 ), U.S. Probation Officer Michael

07 S. Larsen alleged the following violations of the conditions of supervised release:

08          1.       Failure to pay restitution as directed for the months of April, May, June, July,

09 August, September, and October 2008, in violation of the special condition ordering him to pay

10 monthly installments, of not less than 10% of his gross monthly income, toward the unpaid balance

11 of restitution.

12          2.       Associating with Richard Aquino, a person engaged in criminal activity, on or

13 about October 26, 2008, in violation of standard condition number 9.

14          Defendant was advised in full as to those charges and as to his constitutional rights.

15          Defendant admitted the alleged violations and waived any evidentiary hearing as to

16 whether they occurred. (Dkt. 352.)

17          I therefore recommend the Court find defendant violated his supervised release as alleged,

18 and that the Court conduct a hearing limited to the issue of disposition. The next hearing will be

19 set before Judge Martinez.

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -2
           Case 2:06-cr-00106-RSM         Document 353        Filed 01/06/09       Page 3 of 3




01          Pending a final determination by the Court, defendant has been released on the conditions

02 of supervision.

03          DATED this 6th day of January, 2009.



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05                                                Mary Alice Theiler
                                                  United States Magistrate Judge
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     cc:    District Judge:               Honorable Ricardo S. Martinez
08          AUSA:                         Jill Otake
            Defendant’s attorney:         Allen R. Bentley
09          Probation officer:            Michael S. Larsen

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     SUMMARY REPORT OF U.S. MAGISTRATE JUDGE AS
     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
     PAGE -3
